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                                                                              JS-6
                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA




 STAR FABRICS INC.,                            Case No. 2:24-cv-00370-SB-AS
        Plaintiff,
 v.                                            ORDER OF DISMISSAL

 SUNRISE BRANDS LLC,
        Defendant.


      On April 15, 2024, the Court issued an order to show cause (OSC) why the
case should not be dismissed for lack of prosecution. Dkt. No. 13. On April 25,
2024, Plaintiff filed a response to the OSC notifying the Court that the parties had
reached a settlement and requesting that the OSC be discharged or continued for 45
days. Dkt. No. 14.

       The Court takes the OSC under submission and dismisses the action in its
entirety without prejudice. For 45 days from the date of this order, the Court
retains jurisdiction to vacate this order and to reopen the action nunc pro tunc on
motion of any party. By operation of this order and without further court action,
the dismissal in this case will convert to a dismissal with prejudice on the 46th day,
absent a timely motion to vacate and reopen. If the case is reopened, the parties
should be prepared for an expedited trial schedule.

       If the parties object to the above course of action, the Court will hear the
parties’ objection on Friday, May 10, 2024 at 8:30 a.m. in Courtroom 1A. If
neither party objects, the parties need not appear, and the OSC will be
automatically discharged by operation of this order.

      The Court expects the parties to finalize their settlement or else move to
reopen the case for prosecution within the next 45 days as ordered above. Should
the parties file any document that contains a request to extend the deadline for
purposes of completing the settlement, counsel for both parties shall submit at least


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seven days before the deadline a declaration with a detailed timeline of all the
efforts made to complete the settlement, and the parties shall be prepared to
appear in court with a client representative to explain why the settlement could not
be completed in the time allowed.


Date: April 29, 2024                         ___________________________
                                                   Stanley Blumenfeld, Jr.
                                                 United States District Judge




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